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United States District Court DISTRICT of ARIZONA
DOCKET NO.
United States of America
v.
Daniel Pacheco
DOB: xx/xx/1993 MAGISTRATE'S CASE NO.

 

United States Citizen 19 Q / 3 / 9 M J

Complaint for violation of Title 18 United States Code § 924(a)(1)(A)
COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

 

 

On or about February 20, 2019, at or near Tucson, in the District of Arizona, Daniel Pacheco knowingly made a false
statement and representation to Second Amendment Sports, licensed under the provisions of Chapter 44, Title 18,
United States Code, with respect to information required by the provisions of Chapter 44, Title 18, United States
Code, to be kept in the records of Second Amendment Sports; in that Daniel Pacheco, in connection with the purchase
of firearms, that is, one Carl Walther/Walther Arms P22CA .22Ir caliber pistol and one Strum Ruger LCP .380ACP
caliber pistol, stated that his current residence address was 6471 W. Swan Falls Way, Tucson, AZ 85757, when in
fact that was not his current residence address; in violation of Title 18, United States Code, Section 924(a)(1)(A).

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On February 20, 2019, Daniel Pacheco purchased two firearms — one Carl Walther/Walther Arms P22CA .22Ir caliber
pistol and one Strum Ruger LCP .380ACP caliber pistol — from Second Amendment Sports, a federally licensed
firearms dealer in Tucson, Arizona. In completing ATF Form 4473, required to be kept in the records of Second
Amendment Sports in connection with the purchase of the firearms, Pacheco stated that his current residence address
was 6471 W. Swan Falls Way, Tucson, AZ 85757. Pacheco also signed the form, certifying all the information he
provided therein was true, correct, and complete. On March 12, 2019, law enforcement agents responded to 6471
W. Swan Falls Way, Tucson, AZ 85757 and found the residence to be vacant. Agents then interviewed the owner
of the residence, who stated that Pacheco had lived at the residence from June of 2018 to October of 2018, but then
moved out of state and/or to Mexico. Pacheco’s social media account listed his current address as Benjamin Hills,

Sonora, Mexico.

 

MATERIAL WITNESS(ES) IN RELATION TO THE CHARGE: N/A

DETENTION REQUESTED SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the foregoing is

true and correct to the best of my knowledge.
REVIEWED by AUSA Angela W. Woolridge ALLL
OFFICIAL TITLE

Ofnegbal I obo ATF Special Agent

Sworn to before me and subscribed in my presence.

 

 

 

 

 

 

SIGNATURE OF MAGISTRATE JUDGE” DATE
June 4, 2019
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1) See Federal rules of Criminal Procedure Rules 3 and 54

 

 
